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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                      8:94CR73
                              )
          v.                  )
                              )
LARRY JONES,                  )                      ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s motions

for sentence reduction (Filing Nos. 153 and 157), and the

stipulation of the parties (Filing No. 158).              Pursuant to the

stipulation and the retroactive amendment to the cocaine base

guideline, the Court finds the total (final) offense level should

be adjusted from 38 to 34.        The government and defense agree that

the new sentence should be two hundred thirty-five (235) months

imprisonment, based on the prior computation of specific offense

characteristics, adjustments, and any departures.                Accordingly,

          IT IS ORDERED that said motions are granted and the

stipulation of the parties is approved and adopted; the sentence

of the defendant is reduced to a term of two hundred thirty-five

(235) months.    He shall receive credit for all time served.                 The

conditions of supervised release entered in the original judgment

and committal order remain in full force and effect.

          DATED this 17th day of June, 2008.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
